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06/25/2021 08:09 AM CDT




                                                      - 423 -
                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                  STATE EX REL. COUNSEL FOR DIS. v. BOWERS
                                              Cite as 309 Neb. 423



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                               v. Steven R. Bowers, respondent.
                                                 ___ N.W.2d ___

                                        Filed June 4, 2021.     No. S-21-079.

                    Original action. Judgment of public reprimand.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                     INTRODUCTION
                  This case is before the court on the conditional admission
               filed by Steven R. Bowers, the respondent, on April 15, 2021.
               The court accepts the respondent’s conditional admission and
               enters an order of public reprimand.
                                            FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on March 5, 2008. At all times relevant to
               these proceedings, the respondent was engaged in the practice
               of law in Broken Bow, Nebraska. The respondent served as the
               county attorney of Custer County, Nebraska.
                  On February 1, 2021, the Counsel for Discipline of the
               Nebraska Supreme Court, the relator, filed formal charges
               against the respondent. The formal charges consisted of two
               counts. Pursuant to Neb. Ct. R. § 3-302, the respondent is
               under the jurisdiction of the Committee on Inquiry of the Sixth
               Judicial District (Committee).
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. BOWERS
                       Cite as 309 Neb. 423
   The matters alleged in the formal charges were reviewed by
the Committee pursuant to Neb. Ct. R. § 3-309(H) (rev. 2011).
The Committee determined that there are reasonable grounds
for discipline of the respondent and that the public interest
would be served by the filing of formal charges.
   The formal charges generally allege violations stemming
from the respondent’s prosecution of criminal defendants, who
had extensive criminal records and faced felony charges. The
respondent wanted the defendants “out of Custer County”
so they would not engage in further illegal conduct. The
respond­ent agreed that if the defendants would plead guilty
or no contest to the pending charges, he would assist in get-
ting their bonds reduced so the defendants could be released
from jail before their sentencing. The respondent agreed that if
the defendants left the State of Nebraska and failed to appear
at their respective sentencing hearings and a bench warrant
were issued, the respondent would direct the sheriff of Custer
County not to seek to extradite the defendants. The respondent
did not inform the court that he had agreed not to seek extradi-
tion of the defendants if they agreed to plead guilty or no con-
test to the pending charges. The defendants ultimately posted
bail. One of the defendants fled the jurisdiction, and although
he was later arrested in Douglas County, the respond­ent did not
attempt to seek extradition and the defendant was released.
   The formal charges allege that by his actions, the respondent
violated his oath of office as an attorney licensed to practice
law in the State of Nebraska, as provided by Neb. Rev. Stat.
§ 7-104 (Reissue 2012), and violated Neb. Ct. R. of Prof.
Cond. §§ 3-503.3(a)(1) and (b) (rev. 2016) (candor toward tri-
bunal) and 3-508.4(c) and (d) (misconduct).
   On April 15, 2021, the respondent filed a conditional admis-
sion pursuant to Neb. Ct. R. § 3-313(B) of the disciplinary
rules, in which he conditionally admitted that he violated his
oath of office as an attorney and §§ 3-503.3(a)(1) and (b) (can-
dor toward tribunal) and 3-508.4(c) and (d) (misconduct) of
the professional conduct rules. In the conditional admission,
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. BOWERS
                       Cite as 309 Neb. 423
the respondent admits that his conduct violated the identified
rules of professional conduct. The respondent knowingly does
not challenge or contest the truth of the matters conditionally
asserted and waived all proceedings against him in exchange
for a public reprimand.
   The proposed conditional admission included a declaration
by the Counsel for Discipline, stating that the respondent’s
proposed discipline is appropriate under the facts of this case.

                           ANALYSIS
   Section 3-313, which is a component of our rules governing
procedures regarding attorney discipline, provides in perti-
nent part:
         (B) At any time after the Clerk has entered a Formal
      Charge against a Respondent on the docket of the Court,
      the Respondent may file with the Clerk a conditional
      admission of the Formal Charge in exchange for a stated
      form of consent judgment of discipline as to all or part of
      the Formal Charge pending against him or her as deter-
      mined to be appropriate by the Counsel for Dis­cipline
      or any member appointed to prosecute on behalf of the
      Counsel for Discipline; such conditional admission is
      subject to approval by the Court. The conditional admis-
      sion shall include a written statement that the Respond­ent
      knowingly admits or knowingly does not challenge or
      contest the truth of the matter or matters conditionally
      admitted and waives all proceedings against him or her in
      connection therewith. If a tendered conditional admission
      is not finally approved as above provided, it may not be
      used as evidence against the Respondent in any way.
   Pursuant to § 3-313, and given the conditional admission, we
find that the respondent knowingly does not challenge or con-
test the matters conditionally admitted. We further determine
that by his conduct, the respondent violated §§ 3-503.3(a)(1)
and (b) (candor toward tribunal) and 3-508.4(c) and (d) (mis-
conduct) of the professional conduct rules and his oath of
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. BOWERS
                       Cite as 309 Neb. 423
office as an attorney licensed in the State of Nebraska. The
respondent has waived all additional proceedings against him
in connection herewith. Upon due consideration, the court
approves the conditional admission and enters the orders as
indicated below.

                         CONCLUSION
   The respondent is publicly reprimanded. If the respondent
applies to appear pro hac vice, he must disclose this disci-
pline. The Respondent is directed to pay costs and expenses in
accord­ance with Neb. Ct. R. §§ 3-310(P) (rev. 2019) and 3-323
of the disciplinary rules within 60 days after an order imposing
costs and expenses, if any, is entered by the court.
                             Judgment of public reprimand.
